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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )
                                             )       Case No. 1:22-mj-207
MATTHEW D. ROGERS,                           )
                                             )
       Defendant.                            )

                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Kathleen Brown, being duly sworn, hereby depose and state as follows:

                                          Introduction

       1.      I, Kathleen Brown, am a Special Agent with the Federal Bureau of Investigation

(FBI), assigned to the Washington Field Office. I have been an FBI Special Agent since January

2021. I have been employed by the FBI since April 2016 and supported public corruption cases

in a professional staff role from April 2016 to January 2021. Presently, I work as part of the

Washington, D.C. Joint Terrorism Task Force, investigating crimes committed by racially

motivated violent extremists and other domestic terrorism related matters.

       2.      This affidavit is made in support of a criminal complaint and arrest warrant

charging Matthew D. ROGERS with the unlawful possession of a machinegun, in violation of

Title 18, U.S. Code, Section 922(o).

       3.      This affidavit does not include each and every fact known to the government, but

only those facts necessary to support a finding of probable cause to support the requested arrest

warrant. When I write that an event occurred on a specific date or in a specific month, I mean to

convey that the event occurred on or about that date or month.




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                                        Probable Cause

        4.     As described below, the FBI has obtained evidence reflecting that ROGERS has

knowingly acquired and possessed machinegun conversion parts (that is, parts designed and

intended solely and exclusively for use in converting a firearm into a weapon that shoots

automatically more than one shot, without manual reloading, by a single function of the trigger).

The evidence further reflects that ROGERS acquired these parts for the purpose of converting his

rifle into a machinegun and that he knew the machinegun conversion parts and automatic rifle

were illegal. During a search of ROGERS house on May 20, 2022, the FBI recovered two such

machinegun conversion parts, along with a rifle that they could be used with to assemble a

machinegun. Based on this evidence, and as described further below, there is probable cause to

believe that ROGERS has violated Title 18, U.S. Code, Section 922(o).

I.      Facebook Chats in Which ROGERS Purchased Parts Designed to Convert a
        Firearm into a Machinegun

        5.     Through a judicially authorized search, the FBI has recovered Facebook chats

between a Facebook account with the username Dan Cuminale and another Facebook account

with the username John Brown from May 28, 2020, to August 22, 2020.1

        6.     Evidence indicates that an individual named Shane Scaccia used the Dan

Cuminale account.2 For example, records obtained from Facebook show that the credit card



1
 The referenced chats are in Universal Coordinated Time (UTC); however, I have converted the
dates referred to in this affidavit to Eastern Daylight Time (EDT).
2
 On April 27, 2021, in the Western District of New York, the United States charged Shane
Anthony Scaccia by criminal complaint with violations of Title 18, U.S. Code, Sections
922(a)(1)(A) (manufacturing and dealing firearms without a license), 922(a)(4) (manufacture and
dealing machineguns without a license), and 922(o)(1) (possession and transfer of machineguns),
and Title 26, U.S. Code, Section 5861(d) (possession of unregistered firearms). United States v.
Shane Anthony Scaccia, No. 6:21-mj-00600-MJP (W.D.N.Y. Apr. 27, 2021) (Dkt. No. 1).


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associated with the account was in the name of Shane Scaccia. Further, records obtained from

Facebook reflect that the registered email address for the account was dancuminale@gmail.com.

Records obtained from PayPal show that there are five PayPal accounts associated with the email

address dancuminale@gmail.com and that all five were registered in the name of Shane Scaccia,

with four of the accounts listing Scaccias apartment as an address associated with the account.

       7.      As described below in paragraphs 26 to 31, there is probable cause to believe that

ROGERS used the John Brown account. For ease of reference, I will hereafter refer to the

username Dan Cuminale as Scaccia and the username John Brown as ROGERS.

       8.      On May 28, 2020, ROGERS sent a Facebook chat to Scaccia that stated, Hey

boss, how would i find out which stand would support my phone best? Less than ten minutes

later, Scaccia responded, Either do hours of online research or I can make you a party pack.

ROGERS then sent Scaccia the following photograph, stating [t]he one on the right looks like

what was workin best for me:




       9.      In response to the photograph that ROGERS sent, Scaccia sent ROGERS the

following three photographs, stating I also have those two:




                                                3
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       10.    In response to the three photographs that Scaccia sent, ROGERS responded,

Hmm. How muck [sic] for a couple of the S lookin ones. Scaccia asked, The ones next to

the check mark? ROGERS responded by sending the following photograph, which appears to

be an enlarged picture of one of the machinegun conversions depicted in paragraph 8:




       11.    In response, Scaccia stated, 4 for 20. ROGERS asked, Would you take

cashapp or venmo? Scaccia stated, I take cashapp . . . $dancuminale. ROGERS then sent

Scaccia the following screenshot showing that he was sending $20 from USAA Bank to Shane

at $dancuminale for phone holders:




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       12.    The FBI has reviewed bank statements and other information related to a

checking account in the name of Matthew D. Rogers and his mother at USAA Federal Savings

Banks. The bank statements confirm a $20.00 debit card purchase from Cash App*Matt Roger

on May 29, 2020.

       13.    After sending this photograph, ROGERS asked, That you? Scaccia responded,

Yup. ROGERS stated, Sweet, should be in from a Mrogers. Scaccia stated, Got

it . . . Whats the name and address? ROGERS responded with the name Matt Rogers and his

address in South Riding, Virginia (hereinafter, the RESIDENCE). Scaccia responded, Ill

have those out by monday at the latest. ROGERS asked Scaccia to send the tracking number

when he received it.

       14.    Records from Square, Inc., reflect that the CashApp username (or Cashtag)

MRogers411 was registered to Matt Rogers. The subscriber information further provided




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personal identifiers consistent with ROGERS, including his date of birth, social security number,

telephone number, email address, and the RESIDENCE as his address.3

       15.     The CashApp transaction history reflects that on May 28, 2020, the MRogers411

account paid out $20.00 to Dan with the subject phone stands. The transaction history

shows that the MRogers411 account conducted the transaction from an IP address ending in .162

(hereinafter, the .162 IP address). The transaction history indicates that less than ten minutes

beforehand, from the same IP address, the MRogers411 account attempted to make a $20.00

payment to Dan with the subject phone holders, but the transaction did not go through.

       16.     At the end of their conversation on May 28, 2020, Scaccia told ROGERS, If

youre ever looking for anything else drop me a message I have lots of cool stuff. ROGERS

responded, Will do, i can probably get you a few more sold around here. Plenty looking.

Scaccia responded, I got as many as you need.

       17.     Four days later, on June 1, 2020, ROGERS messaged Scaccia, Hey boss, just

checkin in to see if you had a chance to ship. Scaccia responded, just dropped them off at the

drop box.

       18.     Two days later, on June 3, 2020, ROGERS followed up with Scaccia and asked,

Did you get a tracking number or any info? Scaccia sent ROGERS the following picture:




3
  The address listed Chantilly instead of South Riding as the city for the RESIDENCE.
Chantilly and South Riding are both census-designated places (CDP) and communities that
border each other in Virginia. Chantilly is located in Fairfax County and South Riding is located
in Loudoun County. South Riding is technically the proper city for the RESIDENCE; however,
throughout this investigation, I have seen Chantilly used as the city for the RESIDENCE. On a
map, both addresses return to the RESIDENCE. Because the two formulations of the address
refer to the same house, I hereafter refer to both formulations of the address as the
RESIDENCE.

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       19.     U.S. Postal Service (USPS) information confirms that on or about June 2, 2020,

the USPS accepted a parcel that Shane Scaccia, with a return address in Rochester, New York,

was mailing to Matt Rogers at the RESIDENCE, with the tracking number

9400128206334045864658.

       20.     On August 22, 2020, ROGERS messaged Scaccia, stating, Hey bud, long time,

Question . . . Do you have any that work on a glock 19? Scaccia responded, I do . . . Steel

kit . . . 125. Scaccia then sent the following photograph to ROGERS:




                                                7
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       21.     The FBI did not recover any response from ROGERS to the photograph described

in paragraph 20.

       22.     On May 20, 2022, an FBI Task Force Officer (TFO) and I conducted a voluntary

interview of ROGERS while his residence was being searched. During the interview, ROGERS

admitted that he purchased auto sears,4 which are machinegun conversion parts, from the user

of the Dan Cuminale account. Initially, ROGERS stated that the name Dan Cuminale was

not familiar to him. I asked if he purchased auto sears from a Facebook user named Dan

Cuminale in May 2020. ROGERS stated that he did not know if the dates are accurate but that

he purchased four of the plastic things and they did not work. ROGERS claimed that they

cracked. ROGERS confirmed that the item on the right side in the picture in paragraph 8 was

what he was referencing. He recognized that they were supposed to be an auto sear but stated

that they did not work. ROGERS claimed that he kinda stopped the whole attempt to make full

auto firearms at that point.

       23.     When I mentioned that ROGERS had described the items as phone holders,

ROGERS admitted that he was trying to be discreet but its me being stupid. He said that he

sent the picture referenced in paragraph 10 because it looked like an auto sear he had previously

tried to make out of a coat hanger (which he claimed was unsuccessful).

       24.     I asked ROGERS whether he ever tried to sell the auto sears that he purchased

from Dan Cuminale. ROGERS responded that his girlfriend had one of the auto sears but that it

cracked too. ROGERS stated that of the like the five [he] think[s he] had all four of them

broke with like the first attempts to use them. ROGERS said that he took the auto sear back




4
  Auto sears, which are also known as drop in auto sears, are parts that, when properly inserted
into or added to a firearm, convert the firearm to fully automatic.

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from his girlfriend about six months ago and it was broken. He said that if he still ha[d] one

thats the one [he had] because [he hadnt] fired it since [he] took it back. When I asked what

ROGERS did with the other auto sears that broke, he stated that he threw them away.

         25.   When I asked how many times he fired his rifle with the auto sears, ROGERS

stated that he didnt get through one magazine with all of em. He said that the closest [he

has] been able to replicate full auto is the bump firing, which he described as holding the rifle

by placing the webbing of your thumb against the front grip and hold[ing]       loose fingers to

allow the recoil to bounce [your trigger finger] off the trigger.

II.      Evidence that ROGERS Used Two Facebook Accounts, Including the John
         Brown Account Used to Chat with Scaccia

         26.   The above-described statements made by the John Brown Facebook account

reflect that ROGERS used it. When paying Scaccia for the machinegun conversion parts using

CashApp, John Brown told Scaccia that the payment would be from Mrogers. As described

in paragraphs 14 to 15, records from Square, Inc., indicate that a CashApp account

MRogers411 made the payment to Scaccia and show that the account was registered to

ROGERS. Moreover, the USAA Federal Savings Bank information described in paragraph 12

corroborates that ROGERS made the payment to Scaccia. Further, in the Facebook chats, when

Scaccia asked for the mailing address for the machinegun conversion parts, John Brown

provided Matt Rogers at the RESIDENCE. As corroborated by the USPS tracking

information, Scaccia mailed the parcel to Matt Rogers at the RESIDENCE.

         27.   In addition, records from Facebook reflect that ROGERS used the John Brown

account as well as another Facebook account.

         28.   Records from Facebook reflect that the John Brown account was registered on

May 3, 2020. The account, moreover, was verified using a specific cell phone number with a



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703 area code (hereinafter, the CELL PHONE NUMBER). The subscriber information

reflected that the account was created using the .162 IP address and that the account was

repeatedly accessed from that IP address between May 3, 2020, and March 2, 2021. The last

log-in date reflected in the information provided by Facebook was March 2, 2021, from the .162

IP address.

       29.     The FBI has also obtained records from Facebook related to another account with

the name Matt Rogers. The records show that the Matt Rogers Facebook account was

registered on November 18, 2019. Like the John Brown account, the Matt Rogers account

was verified using the CELL PHONE NUMBER. The subscriber information reflected that

between December 2019 and mid-March 2021 the Matt Rogers account was often accessed

from the .162 IP addressthe same IP address used to create and access the John Brown

account.

       30.     Additional evidence shows that ROGERS used the CELL PHONE NUMBER that

served as the verification number for the above-described John Brown and Matt Rogers

Facebook accounts. Subscriber information from Verizon for the phone number reflects that

ROGERS mother was the owner of the account, but that Matt Rogers was listed as a contact

for the account. The subscriber information lists the RESIDENCE as the address for the mother

and Matt Rogers. The Verizon provided subscriber records also indicated that since March 2018

an iPhone 8 Plus has been registered with the Verizon account associated with the CELL

PHONE NUMBER. In addition, subscriber information provided by Google for email address

m.d.rogers411@gmail.com and subscriber information from PayPal/Venmo reflect that the

CELL PHONE NUMBER was used to register accounts in the name of Matt Rogers.




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       31.     Finally, in his interview on May 20, 2022, ROGERS stated that he had a

Facebook account named Matt Rogers and another Facebook account with the name Dan

Brown. Based on the context of the conversation, I believe ROGERS got Dan Brown

confused for John Brown. In explaining the name Dan Brown, ROGERS stated that Dan

Brown was a slave that . . . inst-ed [PH] rebellion. ROGERS likely was meaning to describe the

nineteenth century abolitionist John Brown. Also, in describing the Dan Brown account,

ROGERS stated that it had a picture of George Washington and a Hawaiian shirt. On May 3,

2020, the John Brown account posted an image of George Washington wearing a Hawaiian

shirt and holding a rifle in front of the Betsy Ross flag.

III.   Additional Evidence Obtained from ROGERS Facebook Accounts

       32.     Through a judicially authorized search of the John Brown and Matt Rogers

Facebook accounts, the FBI obtained additional evidence that ROGERS knowingly possessed

machinegun conversion parts. For ease of reference, in paragraphs 32 to 49, I will hereafter refer

to the usernames John Brown and Matt Rogers interchangeably as ROGERS.

       33.     On May 23, 2020, ROGERS sent a private message to Facebook group

Boogaloo: the Big Igloo stating, Anyone actually tried this? He included with the message

the following photograph:




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        34.     Less than ten minutes later, ROGERS commented to another Facebook profile

with the following photograph, which appears to show the part described in paragraph 33

inserted in a rifle:




        35.     During his interview with the FBI on May 20, 2022, ROGERS admitted that in

2019 he tried to make an auto sear with a coat hanger based on what he saw on the Internet, but

he said that it did not work. ROGERS confirmed that the item in the picture in paragraph 33 was

the coat hanger that he referenced.




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       36.     In addition, on June 10, 2020, ROGERS commented on a post and stated, Yeah?

Well what part of the car is this? The post to which he commented is unknown and could not

be found. In the comment, he included the following photograph:




       37.     The evidence suggests that this photograph likely reflects the machinegun

conversion part that Scaccia sent ROGERS. As reflected in the picture depicted in paragraph 18,

USPS tracking information indicated that the expected arrival date of the parcel sent by Scaccia

was June 6, 2020. ROGERS posted the above photograph approximately four days after the

expected arrival date of that parcel. Moreover, the item in the photograph above appears

essentially identical to the machinegun conversion part depicted in the photograph that ROGERS

sent Scaccia when explaining the type of part that he wanted, as described in paragraph 10.

       38.     The evidence obtained from Facebook further shows that ROGERS attempted to

sell a rifle with the machinegun conversion part. On August 12, 2020, ROGERS private

messaged another Facebook user, Yeah man i just didnt [sic] have the time, also if you or

anyone you know is looking for an AR let me know. Shortly thereafter, ROGERS sent another

message to the same user stating, Text me @ [the CELL PHONE NUMBER] for details

because Facebook is sketch about that stuff. Based on my training and experience, I understand

these messages to reflect ROGERS attempting to sell an AR, a type of rifle. Additionally,


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ROGERS intended to have a conversation about selling the rifle using the CELL PHONE

NUMBER.

       39.     Two days later, on August 14, 2020, ROGERS sent the following photo to a

Facebook user (hereinafter, E.A.):




       40.     Immediately after sending this photograph, ROGERS stated to E.A., For sale

2500 for everything. E.A. responded, Definitely looks fair. But I cant cough that up right

now. E.A. further stated, Just got a ruger security yesterday. ROGERS replied, If you know

anyone lmk. Ar is full auto. E.A. responded, Shit and Do I have your number? ROGERS

sent a video of a male, with an emoji over the males face, shooting what appears to be a fully

automatic rifle. ROGERS then sent E.A. the CELL PHONE NUMBER as his telephone number.

A screenshot of the video that ROGERS sent E.A. is below:




                                                14
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        41.     During his interview with the FBI on May 20, 2022, ROGERS claimed that while

the firearm in the video appears to be automatic, it was not actually automatic. ROGERS

claimed that he was bump firing his rifle (as described above in paragraph 25).

        42.     On August 18, 2020, ROGERS private messaged E.A., I can do 1500 but needs

to be before Saturday. On August 22, 2020, E.A. asked ROGERS, You going to the gun

show? ROGERS responded, Maybe tomorrow but cant sell the rifle there. E.A. replied,

True. ROGERS responded, Its illegal for 3 reasons lmao.

        43.     During his interview on May 20, 2022, the FBI TFO asked ROGERS to identify

the three ways in which his rifle was illegal. ROGERS stated one you cant have an SBR [a

short barrel rifle] without a tax stamp and then if you put a solid grip . . . or a vertical grip

on . . . a[n] AR pistol it becomes an SBR A or W. . . . [A]nd then with even the attempt at an auto

sear then its still the same ring you cant sell it there. ROGERS said that if you removed the




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auto sear, then the rifle would be illegal in two ways, but that he was trying to ask more for [it]

under the guise that it was automatic.5

          44.   Furthermore, the photograph referenced in paragraph 39 appears to depict a

machinegun conversion partwhat appears to be the same or similar part that Scaccia sent

ROGERSwith a rifle. In the below version of the photograph, I have circled the part in

yellow:




          45.   On or about January 3, 2021, ROGERS private messaged another Facebook user

(hereinafter, H.M.), regarding H.M.s likely Facebook Marketplace posting of a 1995 Ford F-

150 truck. Facebook Marketplace allows users to create listings that typically reflect a



5
 In his interview with the FBI, ROGERS stated that he was actively trying to get rid of that
upper and stated that he did not know if theres an amnesty policy. He claimed that he
bought it and then like two weeks later you couldnt sell privately. He claimed that he
ordered the upper, being uninformed and then [he] figured out . . . that you cant have this
without a tax stamp because it becomes a short barrel rifle. He stated that he couldnt sell it
privately cause the law change[d] and [he] just was basically stuck with it and [he did not] know
how to get rid of it.

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description of the product similar to the description referenced above and allows other users to

private message the user who created the listing regarding the status of the listing. ROGERS

asked H.M., Trade for AR? H.M. responded, pic? ROGERS then sent the following

photograph to H.M.:




       46.     Immediately after sending the picture, ROGERS informed H.M., Auto 5.56 can

give a 16 .300bo upper with. H.M. replied, How much cash u adding? ROGERS then sent a

video of a male shooting a fully automatic rifle. Screenshots of the video are below:




                                                17
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       47.     ROGERS then messaged H.M., Wasnt planning to add much, could do maybe

700 next tues. H.M. replied, I cant do that man I need cash. ROGERS responded, How

much do you need. Rifle is worth 2500 i could probably get a grand on top by next Tuesday

(12th). H.M. replied, Let me get back to you! The Facebook records indicate that on or about

January 4, 2021, H.M. sold the 1995 Ford F-150 truck.

       48.     Based on my training and experience, and my review of the videos, the video

referenced in paragraph 46 is identical to the video referenced in paragraph 40. The apparel of

the individual shooting the rifle, the background setting, and the bag next to the shooter appear

identical in the two versions of the video. Moreover, the video referenced in paragraph 46 was

one second longer than the video referenced in paragraph 40.

       49.     During his interview with the FBI on May 20, 2022, ROGERS was asked if he

ever tried to sell his firearms. ROGERS stated that he had been trying to sell his rifle but not

full auto. As noted above, ROGERS stated that in the video of him firing the rifle in the field,

he was bump firing the rifle. He suggested that he sent the video to advertise the firearm as fully




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automatic, but that it did not actually do that. He suggested that he was advertising the rifle as

fully automatic to make more money from its sale.

IV.     Evidence Obtained from ROGERS Apple ID Account

        50.    Through a judicially authorized search, the FBI has also obtained evidence from

ROGERS Apple ID account (hereinafter, the Apple Account). Records from the Apple

Account reflect that the account is registered to the name Matt Rogers, with the RESIDENCE

listed as the address. The Apple subscriber information also showed that the CELL PHONE

NUMBER was registered as the FaceTime, iMessage, and daytime phone number, as well as the

number for two-factor authentication, for the Apple Account. The Apple subscriber information

shows that the Apple Account was created on August 28, 2015, using an IP address ending in .194

(hereinafter, the .194 IP address).

        51.    The Apple subscriber information further reflects that the email address

mystrafe77778@gmail.com was verified as the primary email for the Apple Account.6

Subscriber information provided by Google for this email address shows that it was registered to

the name Matt Rogers and that the Terms of Service IP was the .194 IP address, which was the

same registration IP address for the Apple Account.

        52.    Evidence stored on the Apple Account reflects that, on December 8, 2020, the

following photo from an iPhone 8 Plus was created at a latitude and longitude that locate to the

RESIDENCE. The photo appears to reflect a machinegun conversion partwhat appears to be

the same or similar part that Scaccia sent ROGERSin between the handle and magazine. The

photo is below:



6
 The Apple subscriber information reflected that an email address consistent with ROGERS
mothers name was listed as the recovery account for the Apple Account.


                                                 19
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       53.     Evidence stored on the Apple Account reflects that, on December 8, 2021, a video

from an iPhone 13 Pro Max was created at a latitude and longitude that locate to the

RESIDENCE. During the video, the individual in the video stated the following (screenshots of

the video are below and are notated at which point they occurred within the commentary below):

       You know, big boy gun parts. Auto sear (Picture 1), sits right there (Picture 2). Hammer
       comes back, it wont reset, Cuz when this pushes down, every time the bolt carries
       comes back it strikes the top of this (Picture 3). So when you have the hammer, the
       triggered pulled, it wont reset. So, close the top. Im trying to fucking do this without my
       third arm. Jesus.
       Picture 1                             Picture 2                      Picture 3




                                                20
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       54.     Evidence stored on the Apple Account reflects that, on December 8, 2021, the

following photo of ROGERS was created from an iPhone 13 Pro Max at a latitude and longitude

that locate to the RESIDENCE. The photo is below:




       55.     ROGERS, depicted in paragraph 54, is wearing a dark gray Columbia fleece.

Based on my review of the video, the individual holding and manipulating the machinegun

conversion, or auto sear, as described in paragraph 53, is also wearing a dark gray fleece as

seen by the bottom hem in Picture 3 in paragraph 53. Therefore, it is reasonable to deduce that

ROGERS was the individual holding and manipulating the machinegun conversion, or auto

sear, in the AR pattern rifle (in addition to the fact that the video was recovered from ROGERS

Apple Account).

       56.     During his interview with the FBI on May 20, 2022, ROGERS described sending

a video of his auto sears to his buddy Brian. He claimed that was more than a year ago or that

was more than five months ago. He said that he made the video when he first got the auto sears

and that was more than a year ago. ROGERS was shown two of the screenshots referenced in

paragraph 53 and confirmed that they appeared to relate to that video.


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       57.     Evidence stored on the Apple Account reflects that, on approximately July 15,

2020, a 16-second video from an iPhone XS was created at a latitude and longitude that is

located in the vicinity Leesburg, Virginia. Based on my review of the videos, this video is

identical to the video referenced in paragraph 46. Therefore, it is likely that ROGERS originally

created this video and edited the videos referenced in paragraphs 40 and 46. A screenshot of the

video is below:




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V.     Evidence Obtained from Search of ROGERS Residence

       58.     On May 20, 2022, the FBI conducted a judicially authorized search of ROGERS

residence. During a search of the residence, the FBI recovered the following three items from

ROGERS room (among other evidence):

                      Picture A                     Picture B




                                           Picture C




       59.     The rifle depicted in Picture C is a Bushmaster Firearms International, model

XM15-E2S, 300 AAC Blackout caliber, AR-type firearm, serial number BK5096835

(hereinafter, the AR Rifle).

       60.     A Firearms Enforcement Officer with FATD examined all three parts depicted in

Picture A, Picture B, and Picture C. The Firearms Enforcement Officer determined that the parts

depicted in Picture A and Picture B were both Trigger Control Group Travel Reducers. He

concluded that both parts were designed and intended solely and exclusively for use in

converting a weapon into a machinegun.

       61.     The Firearms Enforcement Officer with FATD installed the part depicted in

Picture A into the AR Rifle. The Firearms Enforcement Officer then test fired the AR Rifle. In

doing so, he inserted a magazine with two rounds of ammunition and fired both rounds

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automatically by a single function of the trigger. He also inserted a magazine with five rounds

and fired all five rounds automatically by a single function of the trigger. The Firearms

Enforcement Officer then removed the part depicted in Picture A from the AR Rifle, test fired

the AR Rifle, and was able to fire only one round by a single function of the trigger. Based on

his testing, the Firearms Enforcement Officer determined that the part depicted in Picture A

converted the AR Rifle into a machinegun.

        62.    A Firearms Enforcement Officer with FATD installed the part depicted in Picture

B into the AR Rifle. The Firearms Enforcement Officer then test fired the AR Rifle. In doing

so, he inserted a magazine with two rounds of ammunition and fired both rounds automatically

by a single function of the trigger. He also inserted a magazine with five rounds and fired all

five rounds automatically by a single function of the trigger. The Firearms Enforcement Officer

then removed the part depicted in Picture B from the AR Rifle, test fired the AR Rifle, and was

able to fire only one round by a single function of the trigger. Based on his testing, the Firearms

Enforcement Officer determined that the part depicted in Picture B converted the AR Rifle into a

machinegun.

        63.    During his interview with the FBI on May 20, 2022 (the same day as the search),

ROGERS stated that he thought he still had an auto sear somewhere and that he would happily

turn it over but that he did not want to be charged for giving it to you guys. 7 When the FBI

asked where it was, ROGERS stated that if he still had it and if it was intact, it was in his room.

ROGERS suggested that it was the auto sear that he had given his girlfriend and later taken back.

        64.    In addition, during the search of ROGERS residence, the FBI also seized a




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 It should be noted that, at the beginning of the interview, ROGERS stated, I dont have any
auto sears that Im aware of.

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number of electronic devices. The FBI seized an Apple laptop model A1466, serial number

CIMRQKFVH3QF (hereinafter, the Laptop). The FBI also seized an iPhone 13 Pro Max,

IMEI: 359508626786734 (hereinafter, the iPhone 13). In searching these devices, the FBI

recovered additional evidence that ROGERS knowingly possessed machinegun conversion parts.

       65.    On May 23, 2020, at approximately 9:09 AM EDT, the following image was

created on an iPhone 8 Plus at a latitude and longitude that locate to the RESIDENCE and was

recovered on ROGERS Laptop and iPhone 13:




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       66.     On May 23, 2020, at approximately 10:53 AM EDT, the following image was

created on an iPhone 8 Plus at a latitude and longitude that locate to the RESIDENCE and was

recovered on ROGERS Laptop and iPhone 13:




       67.     On May 24, 2020, ROGERS sent an iMessage to an individual, hereinafter

referred to as K.T., stating, Also, the lighting link for the AR works. Its [sic] full auto. This

message was recovered from ROGERS iPhone 13. Based on my training and experience, and

my conversation with an ATF special agent, a lightning link is a type of AR-15 machinegun

conversion device and the term lightning link is often used as slang to refer to any AR-15




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machinegun conversion device. ROGERS likely meant lightning link when stating lighting

link.

         68.     On June 4, 2020, the following image was created on an iPhone 8 Plus at a

latitude and longitude that locate to the RESIDENCE and was recovered on ROGERS Laptop

and iPhone 13:




         69.     The item depicted in paragraph 68 appears to be the same or similar to the

machinegun conversion devices depicted in paragraphs 8, 10, 36, 39, 44, 52, and 53.

         70.     On August 21, 2020, ROGERS sent an iMessage to an individual, hereinafter

referred to as E.L., stating, Hey man. You know anyone looking to buy a rifle? E.L.

responded, I dont bro but send me pics and info on it and Ill show the guys I work with see if

they are interested! ROGERS responded, Need gone asap $1500 and Cash only. E.L.




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responded, Ill ask them and show them. Then, ROGERS replied, Thanks man. Keep it dl

because its [sic] a felony if i we [sic] get caught with it, and Unregistered full auto SBR.

        71.      Based on my training and experience, I understand ROGERS use of the term

Keep it dl to be shorthand for down low, meaning to keep something discreet likely due to

its illegal nature.

        72.      On January 27, 2021, the following image was created and recovered from the

Laptop, which is identical to the photograph depicted in paragraph 52:




        73.      The photograph above outlines four firearm components as a Felony. Based on

my training and experience, ROGERS edited the photo in paragraph 52 to denote which firearm

components he understood to be illegal. As relevant here, Felony 1 points to a machinegun

conversion part that appears to be the same or similar to the machinegun conversion part

depicted in Picture A.

        74.      On July 16, 2021, according to a text message conversation recovered from the

iPhone 13, ROGERS texted K.T., Also accidentally told mom my rifle is auto.


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